                                                                                    Page 1 of 8
       Case 8:20-cr-00165-MSS-AAS Document 360 Filed 04/06/23 Page 1 of 12 PageID 2703
Edward Christopher White, Jr.
8:20-cr-165-MSS-AAS

                                            UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                   TAMPA DIVISION

UNITED STATES OF AMERICA                                            Case Number: 8:20-cr-165-MSS-AAS

v.                                                                  USM Number: 26898-017

EDWARD CHRISTOPHER WHITE, JR.                                       Jason Paul Mehta, Retained


                                            JUDGMENT IN A CRIMINAL CASE

Defendant pleaded guilty to Counts One and Two of the Superseding Information. Defendant is adjudicated
guilty of the following offenses:

                                                                                  Date Offense     Count
     Title & Section                     Nature of Offense                        Concluded        Numbers
     18 U.S.C. § 371                     Conspiracy to Commit an Offense          On or about      One
                                         Against the United States                August 1, 2019
     42 U.S.C. § 1320a-                  Receipt of Kickbacks in Connection       On or about      Two
     7b(b)(1)(A)                         with a Federal Health Care Program       August 1, 2019

Defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

The Underlying Indictment is dismissed, as to this Defendant only, on the motion of the United States.

IT IS ORDERED that Defendant must notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, Defendant shall notify the Court and
United States Attorney of any material change in Defendant’s economic circumstances.

                                                             Date of Imposition of Judgment:

                                                             April 4, 2023




                                                             April 6, 2023


AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 2 of 8
      Case 8:20-cr-00165-MSS-AAS Document 360 Filed 04/06/23 Page 2 of 12 PageID 2704
Edward Christopher White, Jr.
8:20-cr-165-MSS-AAS

                                                   IMPRISONMENT

       Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of THIRTY-THREE (33) MONTHS. This term consists of a 33-month term as to
Count One and a 33-month term as to Count Two, with all such terms to run concurrently.

         The Court makes the following recommendations to the Bureau of Prisons:

         •    Confinement at a facility in Pensacola, Florida (1st choice) or Montgomery, Alabama (2nd
              choice) to allow the defendant to be in close proximity to his family and to assist with his
              successful matriculation through the system;
         •    Allow the defendant to participate in job opportunities at the facility, as available;
         •    Evaluation for, and participation in, the 500-hour Intensive Drug Treatment Program (RDAP)
              and any substance abuse treatment and counseling programs deemed appropriate; and
         •    Participation in any vocational and educational training programs, as available.

        Defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons not before 120 days from the date of Sentencing as directed by the Bureau of Prisons, and as
notified by the United States Marshal.

       Defendant is ordered to immediately proceed to the Office of the United States Marshal for
processing and further instructions.

                                                     RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to ______________________________________


at _________________________________________________, with a certified copy of this judgment.



                                                      UNITED STATES MARSHAL


                                                      By:
                                                      Deputy U.S. Marshal

AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 3 of 8
      Case 8:20-cr-00165-MSS-AAS Document 360 Filed 04/06/23 Page 3 of 12 PageID 2705
Edward Christopher White, Jr.
8:20-cr-165-MSS-AAS

                                                    SUPERVISED RELEASE

      Upon release from imprisonment, Defendant will be on supervised release for a term of THIRTY-
SIX (36) MONTHS. This term consists of a 36-month term as to Count One and a 36-month term as to
Count Two, with all such terms to run concurrently.


                                                   MANDATORY CONDITIONS

1.       Defendant shall not commit another federal, state or local crime.
2.       Defendant shall not unlawfully possess a controlled substance.
3.       Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall submit to
         one drug test within 15 days of release from imprisonment and at least two periodic drug tests
         thereafter, as determined by the court.
4.       Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.
5.       Defendant shall make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other
         statute authorizing a sentence of restitution.

      Defendant shall comply with the standard conditions that have been adopted by this court (set forth
below).

         Defendant shall also comply with the additional conditions on the attached page.




AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 4 of 8
      Case 8:20-cr-00165-MSS-AAS Document 360 Filed 04/06/23 Page 4 of 12 PageID 2706
Edward Christopher White, Jr.
8:20-cr-165-MSS-AAS

                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, Defendant shall comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for your behavior
while on supervision and identify the minimum tools needed by Probation Officers to keep informed, report
to the court about, and bring about improvements in your conduct and condition.

1.       Defendant shall report to the Probation Office in the federal judicial district where you are authorized
         to reside within 72 hours of your release from imprisonment, unless the Probation Officer instructs
         you to report to a different Probation Office or within a different time frame. After initially reporting
         to the Probation Office, Defendant will receive instructions from the court or the Probation Officer
         about how and when Defendant must report to the Probation Officer, and Defendant must report to
         the Probation Officer as instructed.
2.       After initially reporting to the Probation Office, you will receive instructions from the court or the
         Probation Officer about how and when Defendant shall report to the Probation Officer, and
         Defendant shall report to the Probation Officer as instructed.
3.       Defendant shall not knowingly leave the federal judicial district where you are authorized to reside
         without first getting permission from the court or the Probation Officer.
4.       Defendant shall answer truthfully the questions asked by your Probation Officer
5.       Defendant shall live at a place approved by the Probation Officer. If you plan to change where you
         live or anything about your living arrangements (such as the people you live with), Defendant shall
         notify the Probation Officer at least 10 days before the change. If notifying the Probation Officer in
         advance is not possible due to unanticipated circumstances, Defendant shall notify the Probation
         Officer within 72 hours of becoming aware of a change or expected change.
6.       Defendant shall allow the Probation Officer to visit you at any time at your home or elsewhere, and
         Defendant shall permit the Probation Officer to take any items prohibited by the conditions of your
         supervision that he or she observes in plain view.
7.       Defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless
         the Probation Officer excuses you from doing so. If you do not have full-time employment
         Defendant shall try to find full-time employment, unless the Probation Officer excuses you from
         doing so. If you plan to change where you work or anything about your work (such as your position
         or your job responsibilities), Defendant shall notify the Probation Officer at least 10 days before the
         change. If notifying the Probation Officer at least 10 days in advance is not possible due to
         unanticipated circumstances, Defendant shall notify the Probation Officer within 72 hours of
         becoming aware of a change or expected change.
8.       Defendant shall not communicate or interact with someone you know is engaged in criminal activity.
         If you know someone has been convicted of a felony, Defendant shall not knowingly communicate
         or interact with that person without first getting the permission of the Probation Officer.
9.       If you are arrested or questioned by a law enforcement officer, Defendant shall notify the Probation
         Officer within 72 hours.
10.      Defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or
         dangerous weapon (i.e., anything that was designed, or was modified for, the specific purpose of
         causing bodily injury or death to another person such as nunchakus or tasers).
11.      Defendant shall not act or make any agreement with a law enforcement agency to act as a
         confidential human source or informant without first getting the permission of the court.
12.      If the Probation Officer determines that you pose a risk to another person (including an organization),
         the Probation Officer may require you to notify the person about the risk and Defendant shall comply


AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 5 of 8
      Case 8:20-cr-00165-MSS-AAS Document 360 Filed 04/06/23 Page 5 of 12 PageID 2707
Edward Christopher White, Jr.
8:20-cr-165-MSS-AAS

         with that instruction. The Probation Officer may contact the person and confirm that you have
         notified the person about the risk.
13.      Defendant shall follow the instructions of the Probation Officer related to the conditions of
         supervision.


U.S. Probation Office Use Only

A U.S. Probation Officer has instructed me on the conditions specified by the court and has provided me
with a written copy of this judgment containing these conditions. For further information regarding these
conditions, see Overview of Probation and Supervised Release Conditions, available at: www.uscourts.gov.


Defendant’s Signature:                                                 Date:




AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 6 of 8
      Case 8:20-cr-00165-MSS-AAS Document 360 Filed 04/06/23 Page 6 of 12 PageID 2708
Edward Christopher White, Jr.
8:20-cr-165-MSS-AAS

                            ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1.       Defendant shall be prohibited from incurring new credit charges, opening additional lines of credit,
         or making an obligation for any major purchases (over $1,000) without approval of the Probation
         Officer. Defendant shall provide the Probation Officer access to any requested financial information.

2.       The mandatory drug testing provisions of the Violent Crime Control Act are suspended. The Court
         authorizes random drug testing not to exceed 104 tests per year.




AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                     Page 7 of 8
        Case 8:20-cr-00165-MSS-AAS Document 360 Filed 04/06/23 Page 7 of 12 PageID 2709
Edward Christopher White, Jr.
8:20-cr-165-MSS-AAS

                                           CRIMINAL MONETARY PENALTIES

     Defendant must pay the following total criminal monetary penalties under the schedule of
payments set forth in the Schedule of Payments.
Assessment               Restitution                   Fine              AVAA Assessment *   JVTA Assessment *


    $200.00           $53,699,934.00                 Waived                 N/A               N/A


      Defendant must make restitution (including community restitution) to the following payees in the
amount listed below. If Defendant makes a partial payment, each payee shall receive an approximately
proportioned payment, unless specified otherwise in the priority order or percentage payment column
below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in full prior to the
United States receiving payment.

                                                           RESTITUTION

    Name of Payee                                  Restitution Ordered

    Clerk, U.S. District Court                     $53,699,934.00
    ATTN: DCU
    401 W. Central Boulevard
    Suite 2100
    Orlando, Florida 32801
    For distribution to the victim(s).

    Please contact:
    Financial Litigation Unit
    U.S. Attorney’s Office
    for victim information
    813-274-6000

Restitution: Defendant shall pay restitution in the amount of $53,699,934.00. This restitution obligation
shall be payable to the Clerk, U.S. District Court, for distribution to the victim(s). While in Bureau of
Prisons custody, you shall either (1) pay at least $25 quarterly if you have a non-Unicor job or (2) pay at
least 50% of your monthly earnings if you have a Unicor job. Upon release from custody, you are ordered
to begin making payments of $200 per month and this payment schedule shall continue until such time as
the Court is notified by the defendant, the victim or the government that there has been a material change
in your ability to pay. The Court finds that the defendant does not have the ability to pay interest and the
Court waives the interest requirement for the restitution.



*
    Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pu. L. No. 115-299.
*
    Justice for Victims of Trafficking Act of 2015, Pub.L. No. 114-22.


AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 8 of 8
      Case 8:20-cr-00165-MSS-AAS Document 360 Filed 04/06/23 Page 8 of 12 PageID 2710
Edward Christopher White, Jr.
8:20-cr-165-MSS-AAS

                                                   SCHEDULE OF PAYMENTS

Having assessed Defendant’s ability to pay, payment of the total criminal monetary penalties is due as
follows:
                   Special Assessment shall be paid in full and is due immediately.

Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment imposes
a period of imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau
of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court, unless otherwise
directed by the Court, the Probation Officer, or the United States attorney.

Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution
interest, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA
assessment, and (9) penalties, and (10) costs, including cost of prosecution and court costs.

                                                        FORFEITURE

Defendant shall forfeit to the United States those assets previously identified in the Order of Forfeiture,
attached hereto, that are subject to forfeiture.




AO 245B (Rev. 09/19) Judgment in a Criminal Case
Case
Case8:20-cr-00165-MSS-AAS
     8:20-cr-00165-MSS-AAS Document
                           Document360
                                    325 Filed
                                        Filed04/06/23
                                              02/28/23 Page
                                                       Page91of
                                                              of12
                                                                 4 PageID
                                                                   PageID2433
                                                                          2711




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                                    Case No. 8:20-cr-165-MSS-AAS

  EDWARD CHRISTOPHER WHITE, JR.
  _____________________________________ /

                   ORDER OF FORFEITURE AND PRELIMINARY
                   ORDER OF FORFEITURE FOR DIRECT ASSETS

       The defendant pleaded guilty to Counts One and Two of the Superseding

 Information which charge him with conspiracy to defraud the United States and pay

 and receive kickbacks, and receipt of kickbacks, in violation of 18 U.S.C. § 371 and 42

 U.S.C. § 1320a-7b(b)(1), and the United States has established that he personally

 obtained $33,321,712 in proceeds as a result of his participation in the offenses, and

 that the following assets represent or were funded with proceeds of the offenses:

              a.      The real property located at 22020 Front Beach Rd, Unit 2,
                      Panama City Beach, Florida 32413, including all improvements
                      thereon and appurtenances thereto, the legal description for
                      which is as follows:

                      UNIT 2: COMMENCE at the Northeast corner of Lot 10, Block
                      5, Kiska Beach Subdivision, according to the Plat thereof, as
                      recorded in Plat Book 3, Page 24, of the Public Records of Bay
                      County, Florida; thence S23 degrees, 22'32"W, along the East line
                      of said lot, a distance of 125.15 feet to the Southeast corner of said
                      lot; thence N66 degrees 28'49"W, along the South line of said lot,
                      a distance of 50.14 feet to the Northeast corner of Lot 16, of said
                      Block 5; thence S23 degrees 20'24"W, along the East line of said
                      Lot 16, a distance of 16.47 feet; thence leaving said East line, N66
                      degrees 39'36"W, a distance of 9.35 feet; thence N66 degrees
                      48'00"W, a distance of 22.25 feet; thence S23 degrees 46'36"W, a
Case
 Case8:20-cr-00165-MSS-AAS
      8:20-cr-00165-MSS-AAS Document
                             Document360
                                      325 Filed
                                           Filed04/06/23
                                                 02/28/23 Page
                                                           Page10
                                                                2 of 4
                                                                     12PageID
                                                                        PageID2434
                                                                               2712




                    distance of 8.04 feet; thence N66 degrees 43'50"W, a distance of
                    18.78 feet to the POINT OF BEGINNING; thence continue N66
                    degrees 43'50"W, a distance of 18.62 feet; thence N23 degrees
                    18'04"E, a distance of 7.99 feet; thence N66 degrees 37'29"W, a
                    distance of 1.00 feet; thence S23 degrees 45'08"W, a distance of
                    76.03 feet; thence S66 degrees 44'11”E, a distance of 20.25 feet;
                    thence N23 degrees 15'49"E, a distance of 68.04 feet to the POINT
                    OF BEGINNING. Said parcel is a part of Lot 17, Block 5, of said
                    Kiska Beach Subdivision.

                    Parcel Identification No. 36015-000-015.

                    Titled Owner: Chris White;

              b.    The real property located at 3232 Magnolia Islands Blvd,
                    Panama City Beach, Florida 32408, including all improvements
                    thereon and appurtenances thereto, the legal description for
                    which is as follows:

                    Lot 181 and 182, The Preserve on the Bay Phase IV-A, according to the
                    map or plat thereof, as recorded in Plat Book 19, Page 6 of the Public
                    Records of Bay County, Florida.

                    Parcel Identification No. 31365-860-000.

                    Titled Owner: The Edward Christopher White, Jr. Family
                    Protection Trust, Dated July 24, 2019;

              c.    $280,000 in lieu of the 1986 Cessna Citation SII S550 aircraft,
                    Serial Number S550-0111, Tail Number Nl7LP;

              d.    2018 Range Rover, VIN: SALWZ2SE4JA184013;

              e.    2019 Mercedes-Benz Sprinter Van, VIN: WDAPF1CDXKP051312;

              f.    Approximately $5,312.95 seized from Centennial Bank account
                    number 503081134, held in the name of White Hewitt-Air Corp;

              g.    Approximately $124,280.34 seized from Centennial Bank
                    account number 503088255, held in the name of Christopher
                    White and Brian Moore;



                                           2
Case
 Case8:20-cr-00165-MSS-AAS
      8:20-cr-00165-MSS-AAS Document
                             Document360
                                      325 Filed
                                           Filed04/06/23
                                                 02/28/23 Page
                                                           Page11
                                                                3 of 4
                                                                     12PageID
                                                                        PageID2435
                                                                               2713




               h.    Approximately $1,197.00 seized from Centennial Bank account
                     number 503182370, held in the name of D.A.R.C. LLC dba
                     D.A.R.C. Enterprises;

               i.    Approximately $1,910.42 seized from Centennial Bank account
                     number 503182119, held in the name of White Medical LLC;

               j.    Approximately $9,742.69 seized from Centennial Bank account
                     number 503182905, held in the name of White Oil & Gas LLC;

               k.    Approximately $902.81 seized from Centennial Bank account
                     number 503182348, held in the name of Whitewater Consulting
                     LLC;

               l.    Approximately $603,818.00 seized from Regions Bank account
                     number 0263433532, held in the name of The Edward
                     Christopher White, Jr. Family Protection Trust; and

               m.    Approximately $580,255.00 seized form Pinnacle Bank account
                     number 800105121305, held in the name of The Edward
                     Christopher White, Jr. Family Protection Trust.

        The United States moves under 18 U.S.C. § 982(a)(7), and Rule 32.2(b)(2),

  Federal Rules of Criminal Procedure, to forfeit the $33,321,712 in proceeds the

  defendant personally obtained as a result of his participation in the conspiracy to

  defraud the United States and pay and receive kickbacks, and receipt of kickbacks

  offenses.

        Accordingly, it is hereby:

        ORDERED, ADJUDGED, and DECREED that for good cause shown, the

  United States’ unopposed amended motion, Doc. 323, is GRANTED

        It is FURTHER ORDERED that the United States is entitled to forfeit the

  $33,321,712 in proceeds the defendant obtained as a result of his participation in the

  offenses. In addition, the assets identified above represent or were funded with
                                            3
Case
 Case8:20-cr-00165-MSS-AAS
      8:20-cr-00165-MSS-AAS Document
                             Document360
                                      325 Filed
                                           Filed04/06/23
                                                 02/28/23 Page
                                                           Page12
                                                                4 of 4
                                                                     12PageID
                                                                        PageID2436
                                                                               2714




  proceeds of the offenses charged in Counts One and Two and are forfeitable under 18

  U.S.C. § 982(a)(7).

         It is FURTHER ORDERED that, because the $33,321,712 was dissipated by

  the defendant, and the United States could not locate all the of the specific property

  traceable to the defendant’s offenses, the United States may seek, as a substitute asset,

  pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1), forfeiture of

  any of the defendant’s property up to the value of $33,321,712. The United States may

  also conduct discovery (including depositions, interrogatories, requests for production

  of documents, and the issuance of subpoenas), pursuant to Rule 32.2(b)(3) of the

  Federal Rules of Criminal Procedure, to help identify, locate, and forfeit substitute

  assets. Jurisdiction is retained to enter any order necessary for the forfeiture and

  disposition of any substitute asset and to address any third-party claim.

        The net proceeds from the forfeited assets will be credited towards the

  satisfaction of the defendant’s order of forfeiture.

        DONE and ORDERED in Tampa, Florida, on this 28th day of February 2023.




  Copies to:
  AUSA Mai Tran
  Counsel of Record




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